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10

11                               UNITED STATES DISTRICT COURT
12                                        DISTRICT OF NEVADA
13   JANE DOE, an individual,                          )         Case No. 2:20-cv-00595-JAD-EJY
                                                       )
14                         Plaintiff,                  )           STIPULATION AND ORDER FOR
                                                       )            DISMISSAL WITH PREJUDICE
15   vs.                                               )
                                                       )
16   THE STATE OF NEVADA, ex rel. its                  )
     NEVADA DEPARTMENT OF                              )                 ECF No. 20
17   CORRECTIONS, a public agency, and                 )
     WILLONTRAY B. HOLMES, an individual,              )
18                                                     )
                           Defendants.                 )
19                                                     )
20          Defendant State of Nevada ex rel. its Department of Corrections, by and through legal counsel

21   Aaron D. Ford, Attorney General, Cameron P. Vandenberg, Chief Deputy Attorney General, and Kiel

22   Ireland, Deputy Attorney General, and Plaintiff Jane Doe, by and through counsel Melanie A. Hill,

23   Esq., hereby stipulate and agree that, consistent with

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1    the requirements of Federal Rule of Civil Procedure 41(a), the Court may dismiss Plaintiff’s action, in

2    its entirety, with prejudice, with each party to bear its own attorney’s fees and costs.

3    Dated this 3rd day of November, 2020.                 Dated this 3rd day of November, 2020.

4    AARON D. FORD                                         MELANIE HILL LAW PLLC
     Attorney General
5
     By: /s/ Cameron P. Vandenberg___                      By:     /s/ Melanie Hill
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9
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10

11                                                      ***
12                                                    ORDER
13
             Based on the parties' stipulation [ECF No. 20] and good cause appearing, IT IS HEREBY
14    ORDERED     thatORDERED.
            IT IS SO   THIS ACTION IS DISMISSED with prejudice, each side to bear its own fees and
      costs. The Motion to Dismiss [ECF No. 16] is DENIED as moot. The Clerk of Court is directed to
15    CLOSE THIS CASE.
16          DATED:                                         _________________________________
                                                       _________________________________
                                                           U.S. District Judge Jennifer A. Dorsey
17                                                     U.S.Dated:
                                                            DistrictNovember
                                                                     Judge Jennifer A. Dorsey
                                                                              5, 2020
                                                       Dated: November 5, 2020
18
            UNITED STATES DISTRICT JUDGE
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